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FOR THE NORTHERN DISTRICT OF INDIANA, HAMMOND DIVISION

Name: Laurence and Mary Shipp Case 15-20031

2449 Marshall

Gary, Indiana 46404

AMENDED CHAPTER 13 PLAN

A. PLAN PAYMENTS
Debtor(s) shall pay to the Trustee $16,100 for months 2/15 to 10/15 then $2050.00 per
month. Total plan length shall run approximately 60 months.
Debtor(s) submit all or such portion of future earnings or future income to the control of
the Trustee as is necessary for the execution of the Plan. Plan payments are to
commence not later than 30 days from the date of the filing of the Debtor’s case.
B. DISBURSEMENTS MADE BY THE CHAPTER 13 TRUSTEE

1. Class One — Administrative Expenses:

Trustee fees as determined by statute and set by the United State Trustee.

Attorney fees and costs: Attorney’s fees will be paid after Class Two, Four, and Five

monthly payments are post-petition current. The fees for this case are $3400.00 of

which $140.00 was paid prior to filing leaving an estimated balance of $3260.00 .

These fees do not include the cost of any adversary suit including suits to

determine dischargeability or to determine the validity of a mortgage or secured

debt. t

2. Class Two Continuing Claims: This class includes secured claims on which the
last payment is due beyond the length of the Plan. The Trustee shall adjust the
monthly payment to such creditors after notification of such change by the
creditor to the Chapter 13 Trustee, the Debtor and the Debtor’s counsel. For the
purpose of good faith, the debtor has estimated the amount of monthly payments
below. Monthly payment will be paid as stated on the allowed proof of claim.

ESTIMATED

CREDITOR ADDRESS OF COLLATERAL —_ MONTHLY PAYMENT

PNC 2449 Marshall Gary, Indiana 46404 $1176.23

Debtor shall make all class two payments through the Trustee’s Office.

Payments to class two creditors shall begin following confirmation unless the

court issues an order to the contrary.

3. Class Three — Pre -Petition Arrearage on Continuing Claims 11 U.S.C.
§1322(b) (5) _ In good faith, the Debtor has estimated the arrears owed to PNC for
the property located at 2449 Marshall Gary, Indiana 46404 are $3886.58 per
claim, These arrears shall be paid in full at 0% interest before the close of the
Debtor’s case. To the extent the claim and the Plan conflict, the Trustee shall pay
the actual arrearage on any secured debt as stated in the allowed proof of claim.
This class will be paid pro-rata after classes One, Two, Four and Five.

Creditor Address of Collateral Estimated Arrears Interest Rate

NONE

4. Class Four — Secured Claims Subject to a Reduction (Cram Down): Class
Four creditors shall be paid the replacement value of their collateral, retain their
liens until discharge or payment in full. To the extent that the filed proof of claim
conflicts with the confirmed Plan, the Trustee shall pay the claim pursuant to the
Plan provisions with the remaining amount under the claim treated as a General
Unsecured Claim.

 

 
 

Creditor Value Interest Rate Monthly Payment
Wells Fargo (2062 Whitcomb Gary, Indiana) shall be paid a secured claim of
$26,626.96 at 5% interest with monthly payments of $502.47 increased to
$622.29 per month to include escrow.

Debtor shall pay all statutory adequate protection payments through the
Trustee’s Office. Adequate protection payments to secured creditors shall begin
following confirmation unless the court issues an order to the contrary.
FAILURE TO OBJECT TO THIS TREATMENT OF CLASS FOUR CLAIMS
WILL BE DEEMED ACCEPTANCE OF THIS PLAN AS TO VALUE,
PAYMENT AND INTEREST RATE. NO PRECONFIRMATION PAYMENTS
SHALL BE MADE IF CREDITOR OBJECTS TO TREATMENT OF ITS
CLAIM. |

5. Class Five — Property Tax Claims

Creditors that have allowed secured claims for pre-petition real estate taxes shall
be paid as follows:

The creditor shall retain the lien on the subject real state securing such tax claims
and to the extent that the taxes are not paid timely doing the bankruptcy, upon notice
to the Trustee, the estate shall pay the remaining portion of the secured claim through
the Trustee. Debtor will then have the duty to increase their payments to provide for
the additional claim. Such claims shall be paid after class One, Two and Four Debts
but before Class Three and Class Six through Nine Debts. Class Five Debts shall be
paid at a zero percent (0%) interest rate.

COUNTY ADDRESS

Lake, Indiana = 1331 Marshall Gary, Indiana $445.28
Lake, Indiana 1060 Hamblin Gary, Indiana

Lake, Indiana 213 Matthews Gary, Indiana $2467.34
Lake, Indiana 2062 Whitcomb Gary, Indiana

Lake, Indiana —_14 East 51" Place Gary, Indiana

Lake, Indiana 2449 Marshall Gary, Indiana

6. Class Six — Secured Creditors Whose Liens are Avoided or Stripped

Class Five creditors were secured at one time, including the time of filing, have liens
that will be stripped and voided by the completion of the Debtor’s plan. The value of
the Creditor’s interest in the property secured by its lien is nothing (0). The secured
status of the creditors set forth below shall be, upon discharge, completely stripped
away by 11 U.S.C. §506, and voided by 11 U.S.C.§506 (f) and pursuant to 11 U.S.C.
§11 U.S.C. 1327(c), the Debtor’s property shall be free and clear of all said pre-
petition liens listed below. Class Five creditors shall only have a general unsecured
claim provided that the creditor files a timely proof of claim. In the event the creditor
fails to file a timely proof of claim, it shall be paid nothing.

The Debtors’ home located at 2449 Marshall in Gary, Indiana is valued at
$100,000 and is secured by a first mortgage with PNC with a balance of no less
than $118,855. As a consequence the mortgage held by BMO Harris Bank is
unsecured in that the amount of the senior mortgage against this property
exceeds the value of the Debtor’s home. 11 U.S.C. Section 506 (a) provides that a
secured claim is secured only to the extent of the value of the collateral, and un-
 

allowed claims are void as against the property securing such debt. Debtor
submits that the junior lien held by BMO Harris against 2449 Marshall in Gary,
Indiana is hereby avoided upon the completion of the Debtor’s Chapter 13 plan.

7. Class Seven — Priority Unsecured Claims 11 U.S.C. §1322 (a) (2): All allowed
priority claims entitled to priority under 11 U.S.C. §507 shall be paid in full
during the term of the Plan unless the holder of a particular claim agrees to a
different treatment of such claim. This class will be paid pro-rata after Class Two
Administrative Claims and Class Three Secured Claims are paid in full. Claims
under 11 U.S.C. §507(a)(1)(B) shall not be paid in full if the Debtor(s) apply all
projected disposable income towards plan payments for a period of sixty months.
These claims include the allowed priority debts filed by the Indiana Department of
Revenue and the federal Internal Revenue Service.

8. Class Eight — Special Unsecured Claims:

These debts shall be paid before general unsecured claims.

Interest on non-dischargeable debts, including student loans, pursuant to 11
U.S.C. §1322(b)(10)

Debtor proposes payment for the following debts to preserve the co-debtor stay
provided by 11 U.S.C. §1301: NONE This Debt shall be paid concurrently with
priority debts.

9. Class Nine — General Unsecured Creditors: To meet the best interest of
creditors’ test, the means test and/or the disposable income test, the General
Unsecured Creditors shall receive not less than: _ nothing beyond that amount
resulting from excessive tax refunds to be distributed pro rata___. Any funds
remaining after claims One through Eight are paid as set forth above, shall be
distributed to allowed unsecured claims, pro-rata.

C. PAYMENTS DIRECTLY BY DEBTOR TO CREDITORS

Executory Contracts and/or unexpired leases

The debtor assumes the following executory leases: NONE Payments made on an

assumed executory contact stated in the Debtor’s plan shall be made through the

Trustee and paid as a class Two Debt and shall begin upon filing and paid upon

confirmation. Debtor shall cure all defaults on accepted executory contracts before

the term of the Debtor’s plan.

The debtor rejects the following executory leases:

Those executory contracts and/or unexpired leases not listed herein are rejected. The

automatic stay shall be lifted with respect to these leases and or contracts upon

confirmation of the Plan with respect to any rejected executory contract or unexpired
lease assumed that is to be paid directly by the Debtor.
D. PROPERTY SURRENDERED

Surrender of Collateral. The Debtor(s) will surrender the Debtor’s interest in the

following collateral to the corresponding creditor:_4232 West 20™ Gary, Indiana to

Household Finance Corp. III, 2237 Wallace Gary, Indiana abandoned to Lake

County Treasurer, 2010 Dodge RAM to GM Financial . After the

surrender of the collateral any deficiency still owing the creditor shall be paid as an

unsecured claim under the provisions for general unsecured creditors provided that
the creditor files a subsequent claim for the deficiency owed. Upon the entry of the
order confirming this Plan, the automatic stay imposed by 11 U.S.C. §362(a) shall be
terminated pursuant to 11 U.S. C. §362(d) without further hearing or order. If the
 

property is not subject to 11U.S.C. §1325(a) (9), the creditor may file a deficiency
claim after sale, which if allowed would be treated as a General Unsecured Claim as

above.
E. GENERAL PROVISIONS

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10.

Upon confirmation of the Plan, all property listed in the Debtor’s schedules shall
vest in the debtor.

Debtor will file a Motion to Hire Counsel and Motion to Compromise for all
causes of action held by the Debtor in existence at the time of the filing of the
Debtor(s)’ petition.

To receive distributions from the Trustee under this plan all creditors must file a
proof of claim with the bankruptcy court.

Upon the entry of an order lifting stay, no distributions shall be made to the
secured creditor until such time as an allowed proof of claim is made for a
deficiency claim and is filed with the court.

Secured Claims will be paid the value listed in the Plan or the value of the
collateral listed in the proof of claim — whichever is less.

It is the Debtor’s intent to provide for every claim unless specifically stated
otherwise. Unless the claim is set forth specifically in this Plan as a secured claim,
the Debtor is purposefully classifying the claim as unsecured and it will be treated
as an unsecured claim despite a belief or assertion that it is a secured claim.
Accordingly, the creditor must either timely object to the confirmation of this
Plan, or be deemed to have accepted this Plan’s treatment of the Claim as
provided herein.

Debtor agrees to maintain all insurance required by law and contact upon any of
the Debtor’s property and especially property securing debt.

The debtor(s) will turn over to the Chapter 13 Trustee a copy of any federal and
state tax returns filed by the debtor during each year of this plan.

Debtor has changed his deductions to accurately reflect their tax exemptions as provided in
Form W-4, as amended, and issued by the Federal Internal Revenue Service and the related

form issued by the Indiana Department of Revenue. Debtor(s) shall contribute towards
plan payments, tax refunds in excess of $750.00 per year (whether one debtor or
two debtors file this plan) and received during the first 36 months of the Debtor’s
plan. No provision is made to contribute any child tax credit or earned income
credit. The funds shall be used for the benefit of unsecured creditors, but after the
payment of Class 1 through 5 claims.

The rights of holder of claims secured by a mortgage on real property, proposed
to be cured under this plan, shall be modified only to the extent paying the
amounts allowed and as stated in the Creditor’s proof of claim and while making
all required post-petition principal, interest, and escrow payments, shall result in
the full reinstatement of the mortgage according to it original terms, extinguishing
any right of the mortgage holder to recover any amount alleged to have arisen
prior to or during the pendency of this case, other than costs of collection and
post-petition costs and fees as stated below: NONE
 

11. Post petition claims filed under 11 U.S.C. §1305 may be provided for and paid
under this plan.

12. In the event the Debtor(s) completes the terms of this plan by fully paying the
debts set forth here (with the exception of general unsecured creditors which shall
have no set payment and may be paid nothing) in accordance with the
confirmation of this plan after the 36" month, but before the end of the plan’s
proposed term, then the Debtor(s)’ plan shall be deemed fully paid and completed.

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/s/
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